     Case 2:02-cr-00468-MCE-CMK Document 626 Filed 06/15/07 Page 1 of 2


                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable Morrison C. England, Jr.
United States District Judge
Sacramento, California

                                         RE:   N. Allen SAWYER
                                               Docket Number: 2:02CR00468-04
                                               PERMISSION TO TRAVEL
                                               OUTSIDE THE COUNTRY

Your Honor:


The releasee is requesting permission to travel to Lixouri, on the Island of Kefalonia,
Greece. He is current with all supervision obligations, and he completed his term of home
detention on August 24, 2006. The probation officer recommends approval be granted.


Conviction and Sentencing Date: On June 7, 2005, the releasee was sentenced for the
offense of 18 USC 1341 and 1346 - Honest Services Mail Fraud.


Sentence Imposed: 6 months custody of the Bureau of Prisons; 36 months Supervised
Release; $100 Special Assessment; $20,000 Fine. Special Conditions: Warrantless
search; Financial access; No new debt/credit; Home confinement with electronic
monitoring; Not to dispose of assets without approval from probation officer.


Dates and Mode of Travel: July 13, 2007 through July 27, 2007, via US Airways Airline
in San Francisco, California.


Purpose: Releasee is traveling to attend a development business meeting, and to inspect
the development project site.




                                                                                                         R ev. 05/2006
                                           1            T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
      Case 2:02-cr-00468-MCE-CMK Document 626 Filed 06/15/07 Page 2 of 2


RE:    N. Allen SAWYER
       Docket Number: 2:02CR00468-04
       PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                               Respectfully Submitted,


                                /s/ George A. Vidales
                               GEORGE A. VIDALES
                           United States Probation Officer

DATED:       June 11, 2007
             Elk Grove, California
             GAV/cj


REVIEWED BY:       /s/ Deborah A. Spencer
                   DEBORAH A. SPENCER
                   Supervising United States Probation Officer



ORDER OF THE COURT:

Approved XXX                                 Disapproved


Dated: June 14, 2007


                                       ______________________________
                                       MORRISON C. ENGLAND, JR.
                                       UNITED STATES DISTRICT JUDGE




                                                                                                      R ev. 05/2006
                                         2           T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
